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 4
                                UNITED STATES DISTRICT COURT
 5                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 6
     ____________________________________________
 7                                                )
     JOANNE M. LANDRY,                            )
 8                                                )                  Case No. C21-5545RSL
                           Plaintiff,             )
 9              v.                                )
                                                  )                  ORDER TO SHOW CAUSE
10   ALLIANZ GLOBAL CORPORATE & SPECIALTY, )
     et al.,                                      )
11                                                )
                           Defendants.            )
12   ____________________________________________ )
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                   On August 25, 2021, the Court issued an order requiring the parties to file a Joint
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     Status Report by September 22, 2021. No such report has been filed and the parties have not
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     sought or obtained an extension of time in which to make the required submission. The parties
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     shall, no later than Friday, October 8, 2021, file their Joint Status Report and show cause to the
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     Court why sanctions including dismissal should not be imposed for their failure to comply with
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     the Order of August 25, 2021. The Clerk is directed to place this Order to Show Cause on the
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     Court’s calendar for October 8, 2021.
20
21                 DATED this 23rd day of September, 2021.
22
23
24                                             A
                                               Robert S. Lasnik
25                                             United States District Judge
26

     ORDER TO SHOW CAUSE
